             Case 6:17-bk-00294-KSJ        Doc 88     Filed 03/15/18   Page 1 of 5



                         UNITED STATES BANKRUPTCY COURT
                      GEORGE C. YOUNG FEDERAL COURTHOUSE
                      400 WEST WASHINGTON STREET, SUITE 5100
                                 ORLANDO, FL 32801

In re:
                                                     Case No. 6:17-bk-00294-KSJ
CATHERINE ECKLEY BENTLEY,                            Chapter 7
Debtor.
_____________________________
SUSAN KOLB, M.D.,                                   Adv. No. 6:17-ap-00047-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
ROBERT E. THOMAS,                                   Adv. No. 6:17-ap-00048-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
SUSAN KOLB, M.D.,                                   Adv. No. 6:17-ap-00119-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________/

                               DEBTOR’S MOTION TO STAY

         Debtor, CATHERINE BENTLEY, by and through the undersigned counsel, hereby files

this Motion to Stay the Order Preliminary Granting Expedited Motion for Appointment of

Guardian Advocate (Docket 78) and Order Appointing Guardian Advocate/Special Master

(Docket 82), and as grounds in support states as follows:
            Case 6:17-bk-00294-KSJ         Doc 88    Filed 03/15/18     Page 2 of 5



1. In the Order Preliminary Granting Expedited Motion for Appointment of Guardian Advocate,

   the Court noted oddity that Creditor and Chapter 7 Trustee asked for appointment of a

   guardian to “protect” the Debtor’s interest when neither the Debtor’s attorney nor her

   nephew/power of attorney have sought appointment of a guardian.

2. Such an assumption by the Court is incorrect as both the undersigned and her nephew

   considered guardianship and in fact consulted with an attorney about it in September of 2016.

3. The guardianship was not pursued, however, due to the extremely high costs quoted by the

   guardianship attorney (attorney fees alone were quoted in excess of $7,500) and because a

   Power of Attorney was recommended as a sufficient alternative remedy as well as Debtor

   had lucid moments to understand, deliberate upon, and reach conclusions about matters

   affecting her well-being.

4. A limited Power of Attorney was executed by Debtor on September 26, 2016 to allow the

   undersigned to communicate with her nephew. Debtor remained the decision maker on the

   objectives of representation.

5. The Court also expressed a concern in the order that “[i]s is unclear who Debtor’s counsel is

   representing.”

6. To the extent that the Court is implying that the undersigned is not frequently communicating

   with Debtor with the respect to the pending bankruptcy matters, the undersigned’s

   representation of Debtor is in compliance with Florida Rules of Professional Conduct 4-

   1.2(a), which reads:

           Subject to subdivisions (c) and (d) a lawyer shall abide by a client’s decisions
           concerning the objectives of representation, and, as required by rule 4-1.4, shall
           reasonably consult with the client as to the means by which they are to be pursued.
           A lawyer may take such action on behalf of the client as it impliedly authorized to
           carry out the representation.
              Case 6:17-bk-00294-KSJ       Doc 88      Filed 03/15/18     Page 3 of 5



7. The comments to the above rule further clarify:

                In questions of means, the lawyer should assume responsibility for technical
                and legal tactical issues.

                At the outset of a representation, the client may authorize the lawyer to take
                specific action on the client’s behalf without further consultation.

8. Additionally, as a legal reprehensive, the undersigned is a de facto guardian of Debtor and is

   acting in the Debtor’s best interest by zealously defending frivolous claims of Creditor and

   Trustee.

9. Specifically, the undersigned recently filed a Motion for Summary Judgement bringing to the

   Court’s attention that all claims of Creditor and Trustee are barred by the Statutes of

   Limitations. However, the Court abated the motion, although it would be in the interest of

   judicial economy and the Debtor’s best interest to resolve the purely legal issues raised in the

   motion prior to trial, which are dispositive of all claims against Debtor.

10. In this case, at the outset of representation, Debtor communicated to the undersigned the

   objectives of representation and authorized the undersigned to file bankruptcy on her behalf

   and take all action necessary to defend frivolous claims of Creditor and Trustee.

11. Although the undersigned has been communicating with the Debtor’s nephew, pursuant to

   the September 26, 2016 Power of Attorney, the undersigned also continued communication

   with Debtor as needed to carry out Debtor’s objections of representation.

12. Although on several occasions throughout the bankruptcy proceedings, the undersigned made

   the Court expressly aware that Debtor was diagnosed with vascular dementia and memory

   loss and that her condition was progressively worsening, the undersigned also made the

   Court aware that Debtor did not completely lose mental capacity, but had lucid moments. For

   example, at the pretrial conference held on October 25, 2017, the undersigned made the
             Case 6:17-bk-00294-KSJ          Doc 88      Filed 03/15/18      Page 4 of 5



   Court aware that the undersigned spoke to Debtor that morning and at that time Debtor did

   not know who the undersigned was or that she was in bankruptcy.

13. At the pretrial conference held on January 24, 2018, the undersigned again advised the Court

   of Debtor’s mental impairment and requested to dispense with mediation due to concerns that

   Debtor lacked capacity to enter into a binding agreement. Despite of that, the Court ordered

   mediation.

14. At no point prior to ordering mediation, did the Court express any concerns that the Debtor’s

   interests may not be properly represented. In fact, the Court acknowledged before that the

   undersigned has done a lot of work in this case for very little compensation.

15. Now that the Court has raised this issue for the first time after the case has been set for trial

   on April 25-26, 2018, to address the Court’s concerns, the undersigned filed a petition for

   appointment of a guardian and to determine incapacity in state court, the exclusive forum for

   adjudicating such matters as set forth in Art. V, § 20, Fla. Const., on March 14, 2018, so that

   a panel of licensed physicians, not a lawyer, can determine whether Debtor is incapacitated

   so as to require a guardian. The undersigned also filed a petition for emergency appointment

   of a temporary guardian so that the bankruptcy case can proceed along.

16. Consequently, the Court should stay the Order Preliminary Granting Expedited Motion for

   Appointment of Guardian Advocate (Docket 78) and Order Appointing Guardian

   Advocate/Special Master during the pendency of the state court guardianship proceedings.

       WHEREFORE, Debtor requests the Court issue an order granting this Motion to Stay,

and such other relief as the Court deems just and proper.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by electronic transmission, if registered in the Electronic Case Filing System, otherwise by U.S.
           Case 6:17-bk-00294-KSJ       Doc 88    Filed 03/15/18    Page 5 of 5



Mail: U.S. Trustee, Chapter 7 Trustee, counsel for Trustee and creditor Susan Kolb, Esther
McKean, Guardian Advocate Michael Nardella and the law firm of Nardella & Nardella, PLLC
this 14th day of March, 2018.
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                                                        /s/ Anna Handy
                                                        ___________________________
                                                        Anna Handy, Attorney for Debtor
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